        Case 1:09-cv-00156-WLS Document 13 Filed 11/20/09 Page 1 of 6



                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF GEORGIA
                               ALBANY DIVISION


CASSANDRA MARSHALL,              )
INDIVIDUALLY AND                 )
APONDREA MARSHALL,               )
INDIVIDUALLY AND AS              )
NEXT FRIEND OF CASSANDRA         )
MARSHALL,                        )
                                 )
                 Plaintiffs,     )
                                 )
vs.                              )             CV: 1:09-CV-00156 WLS
                                 )
JYOTIR MEHTA, M.D., LUNG         )
DIAGNOSTICS LLC, DEBORAH Z.      )
MCCARTHY, MARK N. BURNS,         )
M.D., SOUTHWEST GEORGIA          )
PATHOLOGY, SOUTHERN HEALTHCARE )
MANAGEMENT, INC., JOHN THOMAS    )
DUELGE, M.D., PHOEBE CANCER      )
CENTER, PHOEBE PUTNEY MEMORIAL )
HOSPITAL, INC. and AMERICAN RED  )
CROSS, SOUTHEAST DIVISION,       )
                                 )
                     Defendants. )
                                 )


PLAINTIFFS’ MOTION FOR VOLUNTARY DISMISSAL WITHOUT PREJUDICE
         AND MEMORANDUM OF LAW IN SUPPORT THEREOF

            NOW COME the Plaintiffs in the above-styled action, CASSANDRA

MARSHALL, Individually and APONDREA MARSHALL, Individually and as

Next Friend of CASSANDRA MARSHALL, by and through their undersigned

attorneys, hereby file this Motion for Voluntary Dismissal Without Prejudice

pursuant to Rule 41 of the Federal Rules of Civil Procedure and Memorandum of

Law in Support thereof and state as follows:


804818-01
                                        1
        Case 1:09-cv-00156-WLS Document 13 Filed 11/20/09 Page 2 of 6



            1.    On September 24, 2009, Plaintiffs filed their action for professional

negligence against Defendants, Jyotir Mehta, M.D., Lung Diagnostics LLC,

Deborah Z. McCarthy, Mark N. Burns, M.D., Southwest Georgia Pathology,

Southern Healthcare Management, Inc., John Thomas Duelge, M.D., Phoebe

Cancer Center, Palmyra Park Hospital, Inc. d/b/a Palmyra Medical Center,

Phoebe Putney Memorial Hospital, Inc., and American Red Cross, Southeast

Division.

            2.    On October 23, 2009, Defendant, American Red Cross, Southeast

Division, removed this action to this Court pursuant to 28 U.S.C §1441(b) based

upon jurisdiction under 36 U.S.C § 300105(a)(5), which provides federal

jurisdiction over claims against the Defendant, American Red Cross, Southeast

Division.

            3.    Plaintiffs have now agreed to dismiss their claim without prejudice

against Defendant, American Red Cross, Southeast Division, and Defendant,

American Red Cross, Southeast Division, agrees to the dismissal of said claims.

            4.    Because Defendant, American Red Cross, Southeast Division, has

served an answer to Plaintiffs’ complaint, Plaintiffs are not able to effect the

dismissal via Rule 41(a)(1)(A) and hence file the instant motion pursuant to Rule

41(a)(2).

                                MEMORANDUM OF LAW

            Federal Rule 41 (a)(2) provides that after an answer has been filed and in

the absence of the consent of the parties, “an action shall not be dismissed at the

plaintiff's instance save upon order of the court and upon such terms and conditions

as the court deems proper.” The purpose of the Rule “is primarily to prevent
804818-01
                                            2
        Case 1:09-cv-00156-WLS Document 13 Filed 11/20/09 Page 3 of 6



voluntary dismissals which unfairly affect the other side, and to permit the

imposition of curative conditions.” McCants v. Ford Motor Co. Inc., 781 F.2d 855,

856 (11th Cir. 1986). In considering such a motion, “the court should keep in mind

the interests of the defendant, for Rule 41(a)(2) exists chiefly for protection of

defendants.” Fisher v. Puerto Rico Marine Management, Inc., 940 F.2d 1502, 1503

(11th Cir. 1991). The Rule does not, however, protect defendants from all potential

disadvantages that may result from dismissal. Rather, Rule 41 serves to protect

defendants from legal prejudice, while at the same time, allowing plaintiffs to

voluntarily dismiss their actions on such terms as are just. Daker v. Ferrero, 2007

WL1100463 *1 (S.D.Fla. 2007).

            In this case, Defendants will suffer no prejudice by dismissal of this action

against the American Red Cross, Southeast Division. No dispositive motions are

pending. Discovery has not occurred. Dismissal of Plaintiffs’ claim at this time

would be just and judicially economical. Furthermore, with the elimination of the

sole basis for federal jurisdiction, it would allow remand to Plaintiffs’ chosen forum.

            WHEREFORE, Plaintiffs hereby request that the Court grant their motion for

voluntary dismissal without prejudice as to Defendant, American Red Cross,

Southeast Division.




804818-01
                                              3
        Case 1:09-cv-00156-WLS Document 13 Filed 11/20/09 Page 4 of 6



            This 20th day of November, 2009.

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804818-01
                                           4
        Case 1:09-cv-00156-WLS Document 13 Filed 11/20/09 Page 5 of 6



                                CERTIFICATE OF SERVICE

            This is to certify that the undersigned has this date served a copy of the

within and foregoing Plaintiffs’ Motion for Voluntary Dismissal Without Prejudice

and Memorandum of Law in Support Thereof upon all counsel of record by

depositing same into the United States Mail in an envelope with adequate

postage affixed thereon and addressed as follows:

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804818-01
                                              5
        Case 1:09-cv-00156-WLS Document 13 Filed 11/20/09 Page 6 of 6




            This 20th day of November, 2009.

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804818-01
                                           6
